  Case 8:21-cv-01807-JVS-DFM Document 31 Filed 04/19/22 Page 1 of 1 Page ID #:736

                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          SACV 21-01807JVS(DFMx)                                                Date     April 19, 2022
 Title             John Doe v Regents of the University of California, et al



 Present: The                    James V. Selna, U.S. District Court Judge
 Honorable
                         Lisa Bredahl                                                  Not Present
                         Deputy Clerk                                                 Court Reporter
                Attorneys Present for Plaintiffs:                     Attorneys Present for Defendants:
                          Not Present                                                  Not Present

 Proceedings:           [IN CHAMBERS] ORDER RE SCHEDULING DATES

         The Court has read and considered the parties Rule 26(f) Report and sets the following dates:

                            Jury Trial                             June 6, 2023 at 8:30 a.m.
                             File Findings of Fact and Conclusions of Law by May 30, 2023
                            Final PreTrial Conference              May 22, 2023 at 11:00 a.m.
                             File PreTrial Documents not later than May 16, 2023
                             File motions in limine not later than April 24, 2023
                            Discovery Cut-off                      February 21, 2023
                            Expert Discovery Cut-off               May 8, 2023
                             Initial disclosure of Experts not later than March 8, 2023
                             Rebuttal disclosure of Experts not later than April 24, 2023
                            Law and Motion Cut-off                  April 17, 2023 at 1:30 p.m.
                              Motions to be filed and served not later than March 20, 2023

        Counsel shall make an ADR selection within 7 days and file a brief with the Court stating their
selection. Counsel shall file a Joint Report of the parties regarding outcome of settlement discussions,
the likelihood of possible further discussions and any help the Court may provide with regard to
settlement negotiations not later than seven (7) days after the settlement conference.

         The Scheduling Conference set for April 21, 2022 at 10:30 a.m. is VACATED.


                                                                                                          :        0

                                                               Initials of Preparer         lmb




CV-90 (06/04)                                  CIVIL MINUTES - GENERAL                                         Page 1 of 1
